               Case 2:96-cr-00182-RBS Document 122 Filed 09/09/14 Page 1 of 1 PageID# 160
AO ?.47 fRev    11/1 n    Order Reeardina Mminn for Sentence Reduction Pursuant in 18 11 SC 8 S5*2fcV»        PaSc ' of2<PaSc 2 Not for Public Disclosure)

                                        United States District Cot kit                                                      FILED
                                                                          for the

                                                             Eastern District of Virginia                               SEP -9 2014

                         United States of America                                                               clerk, u.s. nismioi COURT
                                                                                                                          NU^I i •: K, VA
                                       v.

                                                                                Case No:        2:96crl82

                 Kenyon Raheen Gadsden                                        ) USM No: 27821-083
Date ofOriginal Judgment:          July 7, 1997                               )
Date of Previous Amended Judgment:                                            ' Duncan R. St.Clair, III
(Use Date ofLast Amended Judgment ifAny)                                      ) Defendant's Attorney


                    ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                                             PURSUANT TO 18 U.S.C. § 3582(c)(2)
         Upon motion of X the defendant H the Director of the Bureau of Prisons • the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG § 1B1.10 and
the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
          E3 DENIED.                 GRANTED and the defendant's previously imposed sentence of imprisonment (asreflected in
the lastjudgment issued) of                                         months is reduced to
                                                (Complete Parts I and II of Page 2 whenmotion is granted)




Except as otherwise provided, all provisions of the judgment dated                           7/7/1997             shall remain in effect.

IT IS SO ORDERED.                                                                                                 /s/
                                                                                           Rebecca Beach Smith
Order Date:                     \"C\-"\L\                                                                Chief
                                                                                            United St^BJgi^fojudge
Effective Date:                                                                Rebecca Beach Smith, Chief United States District Judge
                         (ifdifferentfrom order date)                                                    Printed name and title
